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 Fill in this information to identify your case:

 Debtor 1                  Celline Iglesias
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number            6:18-bk-05986
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Americredit Financial Servic                         Surrender the property.                          No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a             Yes
    Description of        2016 Toyota Highlander 52,000                     Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:
    securing debt:        Vin: 5TDKKRFH1GS162800
                          Utility 4D XLE 3.5L V6


    Creditor's         Freedom Mortgage Corp                                Surrender the property.                          No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a             Yes
    Description of 3544 Cayugas Loop Saint                                  Reaffirmation Agreement.
    property       Cloud, FL 34772 Osceola                                  Retain the property and [explain]:
    securing debt: County
                   Parcel: 272630018000015040
                   Homestead. Primary residence


    Creditor's         Mallard Pond HOA of St Cloud                         Surrender the property.                          No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a             Yes


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 Debtor 1      Celline Iglesias                                                                       Case number (if known)    6:18-bk-05986

     Description of     3544 Cayugas Loop Saint                             Reaffirmation Agreement.
     property           Cloud, FL 34772 Osceola                             Retain the property and [explain]:
     securing debt:     County
                        Parcel: 272630018000015040
                        Homestead. Primary residence


     Creditor's    Regional Acceptance Co                                   Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     2015 Kia Sorrento 74,311 miles                      Reaffirmation Agreement.
     property           Utility LX 2 WD l4 Trim                             Retain the property and [explain]:
     securing debt:     Vin: 5XYKT3A63FG557671

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X                                                                                  X
       Celline Iglesias                                                                 Signature of Debtor 2
       Signature of Debtor 1


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Celline Iglesias                                                                      Case number (if known)   6:18-bk-05986


       Date        May 21, 2019                                                     Date




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